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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 Diamond A Ranch, Western Division, LLC,
 et al,

                 Plaintiffs,

    v.                                              No.: 1:20-cv-03478-CRC

 Alejandro N. Mayorkas, et al,

                 Defendants.


                                    JOINT STATUS REPORT

         The Parties submit this Joint Status Report to update the Court on their attempts to reach

a negotiated resolution of this case.

         The Parties continue to believe that a settlement is the preferable outcome and a

settlement is possible. Channels of discussion between Plaintiffs and Defendants remain open

and strong. On January 4, 2022, U.S. Customs and Border Patrol (“CPB”) released the Tucson

Sector Remediation Plan (“Plan”) and is accepting public input and comments on its set of

remediation principles for the region encompassing the ranch’s property. Plaintiffs expect to

submit comments to CBP on the Plan. Additionally, the Parties will hold an on-site meeting to

discuss the ways in which remediation can address the issues under litigation. The meeting,

originally planned for this week, had to be postponed due to the surge in COVID-19 Omicron

cases. However, the Parties are actively exploring a possible meeting in February for the same

purpose. The Parties remain optimistic that future discussions will permit a settlement which

resolves this matter.

         The Parties request that case remain stayed and will be happy to answer any questions.
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Dated: January 6, 2022             Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       This is to certify that on the 6th day of January, 2022, the foregoing was electronically filed

with the Clerk of Court using the Court's CM/ECF system.


                                              /s/ Stewart A. Baker
                                              Stewart A. Baker
